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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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Aaron Ross,
                                                                          TRANSFER ORDER
                                   Plaintiff,                           21-CV-04424 (DG) (RLM)

                 -against-

Universal Health Services, Inc.; Provo Canyon
School; Justin Uale; Wendy Turnbow; and
Lorna Hall,

                                    Defendants.
--------------------------------------------------------------X
DIANE GUJARATI, United States District Judge:

        The parties to this action have consented to this action’s transfer to the United States

District Court for the District of Utah, pursuant to 28 U.S.C. § 1404(a). See ECF No. 15. Based

on this consent and the record proceedings to date, this action is hereby transferred to the United

States District Court for the District of Utah, pursuant to 28 U.S.C. § 1404(a). See 28 U.S.C. §

1404(a) (providing, in relevant part, that a district court may transfer a civil action to any other

district where it might have been brought or to any district to which all parties have consented,

“[f]or the convenience of parties and witnesses, in the interest of justice”).

        The provision of Local Civil Rule 83.1 requiring a seven-day delay between a transfer

order and the effectuation of the transfer is waived.

        SO ORDERED.

                                                             /s/ Diane Gujarati              _
                                                             DIANE GUJARATI
                                                             United States District Judge

Dated: January 27, 2022
       Brooklyn, New York
